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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 IN RE:                                             §          Case No. 23-34815 (JPN)
 GALLERIA 2425 Owner, LLC.                          §
     Debtor                                         §          Chapter 11

   OBJECTION TO FINAL ORDER ON MOTION FOR USE OF CASH COLLATERAL

TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

        COMES NOW 2425 WL, LLC (“Respondent”) and files this Objection to Final Order on

Motion for Use of Cash Collateral and would show as follows:


        1.       The Chapter 11 Trustee has filed a Motion for Use of Cash Collateral.

        2.       Respondent does not object to use of cash collateral by the Trustee. However, the

terms of the proposed final order impermissibly release third party claims and limit the rights of

third parties to object to claims.

        3.       Paragraphs 3 and 4 of the Proposed Order contains the following stipulations and

agreements:

              3. Stipulations and Agreements. In consideration for the relief granted in this
                 Order, the Trustee, on behalf of the Estate, and NBK stipulate and agree to
                 the following:

        a.      NBK Claim. On May 23, 2018, the Debtor issued a note to NBK in the
        amount of $51,675,000.00 (the “NBK Note”). Subject to any affirmative defenses to
        the NBK Note or the Debtor’s obligations thereunder, NBK was entitled to
        $63,552,988.00 under the NBK Note on the Petition Date (the “NBK Claim”). The
        Trustee, on behalf of the estate, reserves all rights to challenge the amount or
        allowance of the NBK Claim up to ten (10) days before a hearing on any plan of
        reorganization for the Debtor is first scheduled for hearing with any such challenge
        to be heard and determined in connection with that hearing.

        b.      NBK Liens and Security Interests. The Debtor’s obligations to NBK are
        secured pursuant to the Deed of Trust, Assignment of Leases and Rents and Profits,
        Security Agreement and Fixture filing (the “NBK Deed of Trust”) and Absolute
        Assignment of Leases and Rents (the “NBK Assignment of Rents”), both of which
        were filed in the real property records of Harris County, Texas, prior to the Petition
        Date. NBK has a valid, enforceable, and properly perfected security interest in the
        Premises pursuant to the NBK Deed of Trust that has priority over any other lien or
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          security interest, except any lien pursuant to Chapter 32 of the Texas Tax Code.
          NBK also has a valid, enforceable, and properly perfected security in the rents from
          leases of the Premises pursuant to the Deed of Trustee and the NBK Assignment of
          Rents. The value of NBK’s collateral does not exceed the amount it is owed.

                                                   ***

          4.      Effect of Stipulations and Agreements. The Trustee’s acknowledgments and
          stipulations in this order shall be binding on the Trustee, the Estate, and their
          respective representatives, successors, and assigns in all circumstances. The
          stipulations contained in this Order shall be binding upon all other parties in interest
          and all of their respective successors and assigns.

          4.       Paragraph 3(a) appears to state that only the Trustee may challenge the amount of

the claim of NBK. It further limits the Trustee’s right to challenge the NBK claim to asserting

counterclaims. Under 11 U.S.C. Sec. 502(a), any party in interest may object to a claim. It is

improper to cut off the rights of third parties to object to a claim without so much as a challenge

period.

          5.       Paragraph 3(b) is worse. It stipulates that NBK’s liens are valid and have priority

over all liens except for tax liens. Respondent has filed Adv. No. 24-3043 in which it seeks

equitable subordination against NBK. The stipulation would require dismissal of this adversary

proceeding.

          6.       Whatever rights the Trustee might have when dealing with property of the estate,

agreeing that liens are senior to those of another lien holder without the consent of the lienholder

constitutes an impermissible non-consensual third-party release in violation the law of this Circuit

and indeed the may violate the jurisdiction of the Bankruptcy Court as is currently being

adjudicated in Harrington v Purdue Pharma, L.P., (Docket 23-124). See Nextpoint Advisors, L.P.

v. Highland Capital Mgmt. L.P., 48 F.4th 419, 435 (5th Cir. 2022) (holding that an exculpation

clause that exceeds the statutory authority of the Bankruptcy Code must be struck); In re Pacific

Lumber, 584 F.3d 229 (5th Cir. 2009) (holding that exculpation and release clauses must narrowly

construed and authorized under the provisions of 11 U.S.C. §524(e)).
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       7.       This issue is not a question of business judgement but rather one of authority for the

relief which the Trustee and the Bank are seeking. What section of the Bankruptcy Code authorizes

the granting of a non-consensual third-party release in this context? Looking to Highland Capital

Mgmt. for guidance, we see the Court may ultimately determine that the liens held by 2425 WL,

LLC may be junior to those of NBK. Indeed, the Bankruptcy Code sets forth a procedure for

determining those rights through an adversary proceeding and in this case an adversary proceeding

is currently pending [Adv. Proc No. 24-03043] (the “Adversary Proceeding”). However, for the

Bankruptcy Court to take such action on a summary basis as party of a cash collateral motion,

makes a farce of the entire bankruptcy process in requiring an adversary proceeding to determine

the priority of liens and further risks putting the reputation of the Bankruptcy process at risk and

threatens the integrity of this Court as well as violating due process.

       8.       NBK and the Trustee have failed to point to any Section of the Bankruptcy Code that

authorizes the abrogation of a property right by such means. For this Court to grant the relief

requested would be contrary to the holdings of the Fifth Circuit in Highland Capital Mgmt. and

Pacific Lumber without any contrary statutory authority.

       9.       While the Trustee may claim it has an urgent need for cash, such a need does not

authorize or justify a court to enter an order that is violative of applicable law. Looking at the

pending Adversary Proceeding, there is a forum and a procedure for NBK to obtain the relief it

seeks. The parties need only move on an expedited basis to resolve the issue as to whether NBK’s

claims should be equitably subordinated. This can be done with a scheduling order, expedited

discovery and an expedited schedule to move to trial.

       10.      However, if the Court is to enter the order as submitted, it will be akin to a non-

consensual-third party release. Moreover, given that the property at stake here is real property and

all real property is unique, the harm that will be suffered is irreparable. See Oppulent Life Church

v. City of Holly Springs, 697 F.3d 279 (5th Cir. 2012). Effecting property rights in this manner
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strikes at the very heart of the Bankruptcy process.

       11.      The Motion also requires the Trustee to initiate a sales process by April 5, 2024

resulting in an auction sale to take place no later than July 1, 2024. Respondent objects to using a

cash collateral motion as a sub rosa plan. The court should not approve a 90-day sale process

without clear and convincing evidence that such a process will maximize the value to the estate.

       12.      Any adequate protection granted to NBK should be contingent upon the priority of

NBK’s liens being upheld.

       13.      Payment of expenses necessary to maintain the value of the property should be

sufficient to provide adequate protection to the lender.


 DATED: April 2, 2024.


                                                           Respectfully Submitted,

                                                           BARRON & NEWBURGER, P.C.
                                                           7320 N. MoPac Expwy., Suite 400
                                                           Austin, Texas 78731
                                                           Tel: (512) 476-9103

                                                 By:       /s/ Stephen W. Sather
                                                           Stephen W. Sather
                                                           State Bar No.
                                                           ATTORNEYS FOR
                                                           CREDITOR, 2425 WL,LLC


                                    CERTIFICATE OF SERVICE

    I hereby certify that the foregoing Response was served on the 2nd day of April, 2024 to the
    parties on the attached list.


                                                           /s/ Stephen W. Sather
                                                           Stephen W. Sather
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Label Matrix for local noticing             2425 WL, LLC                            CC2 TX, LLC
0541-4                                      2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                               Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                          12770 Coit Road Suite 850
Houston                                                                             Dallas, TX 75251-1364
Fri Jan 19 15:17:36 CST 2024
City of Houston                             Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
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c/o Tara L. Grundemeier                     Houston, TX 77027-9084                  HOUSTON TX 77252-2928
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c/o Tara L. Grundemeier                     c/o Tara L. Grundemeier
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Houston, TX 77208-1010


Ali Choudhry                                Ash Automated Control Systems, LLC      CFI Mechanical, Inc
1001 West Loop South 700                    PO Box 1113                             6109 Brittmoore Rd
Houston, TX 77027-9084                      Fulshear, TX 77441-2013                 Houston, TX 77041-5610



CNA Insurance Co                            Caz Creek Lending                       Cirro Electric
PO Box 74007619                             118 Vintage Park Blvd No. W             PO Box 60004
Chicago, IL 60674-7619                      Houston, TX 77070-4095                  Dallas, TX 75266



City of Houston                             City of Houston                         Comcast
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Datawatch Systems                           Environmental Coalition Inc             Ferguson Facilities Supplies
4520 East West Highway 200                  PO Box 1568                             PO Box 200184
Bethesda, MD 20814-3382                     Stafford, TX 77497-1568                 San Antonio, TX 78220-0184



Firetron                                    First Insurance Funding                 Gulfstream Legal Group
PO Box 1604                                 450 Skokie Blvd                         1300 Texas St
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HNB Construction, LLC                       Harris County Tax Assessor              Houston Community College System
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                           Case 23-34815 Document 167 Filed in TXSB on 04/02/24 Page 6 of 6
Houston ISD                                          Kings 111 Emergency Communications                   Lexitas
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National Bank of Kuwait                              Nationwide Security                                  Nichamoff Law Firm
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New York, NY 10171-0023                              Houston, TX 77027-4205                               Houston, TX 77005-3253



TKE                                                  US Trustee                                           Waste Management
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Atlanta, GA 30339-2296                               515 Rusk Ave                                         Dallas, TX 75266-0345
                                                     Ste 3516
                                                     Houston, TX 77002-2604

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Houston, TX 77027-3744



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division
Harris County Attorney’s Office
P.O. Box 2928
Houston, TX 77252-2928 United States




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                               End of Label Matrix
                                                     Mailable recipients      45
                                                     Bypassed recipients       1
                                                     Total                    46
